       Case 5:11-cr-02972-RB      Document 285      Filed 05/15/12   Page 1 of 4

                        UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                    Case No. CR 11‐2972 BB

LUIS ALBERTO CARRASCO,

                    Defendant.




          PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

      THIS MATTER is before the Court on the United States’ Motion for Order to

Show Cause and Forfeiture of Appearance Bond (doc. 247), in which Plaintiff moves the

Court for a Judgment of Forfeiture of the $20,000.00 bond executed by the defendant,

third party custodian Rosa Maria Arrieta, and surety Angelica Herrera‐Lucero of

Herrera Bail Bonds. The Court having held a hearing, having heard from all the parties,

and being fully advised in the premises, recommends that the Motion be granted.

      Defendant Luis Alberto Carrasco was charged on November 29, 2011 in count

one of a two count Indictment with conspiring with others to possess with intent to

distribute a large quantity of methamphetamine, in violation of 21 U.S.C. § 846. The

defendant was subsequently arrested and appeared before this Court for an

Arraignment/Detention hearing on December 2, 2011. At said hearing, I denied bond.
       Case 5:11-cr-02972-RB        Document 285     Filed 05/15/12    Page 2 of 4

Defense counsel subsequently filed an Unopposed Motion to Grant Conditions of

Release (doc. 139) and a hearing was held. The motion was granted in part and denied

in part, Conditions of Release were set which included posting a $20,000.00 secured

bond (to be cosigned by the third party custodian, Rosa Maria Arrieta), Pretrial Services

supervision, and travel restrictions including no travel to Mexico, along with other

requirements as set out in the Order Setting Conditions of Release (doc. 168) filed on

December 15, 2012.

       On March 13, 2012, a Petition for Action of Conditions of Release was filed by the

U.S. Pretrial Services Office requesting a warrant be issued for the defendant’s arrest as

it appeared he had absconded. That request was granted in an Order filed the next day,

and an arrest warrant was issued.

       On March 30, 2012, the Motion for Order to Show Cause and Forfeiture of

Appearance Bond was filed by Plaintiff. At the hearing on the Motion held on April 10,

2012, Defendant’s counsel appeared but Defendant failed to appear. Defense counsel

presented no excuse for Defendant’s failure to appear nor his apparent violation of

conditions of release, but did express concern for Defendant’s well‐being. The third‐

party custodian, Rosa Maria Arrieta, also appeared at the hearing and provided no

information about Defendant’s whereabouts. Finally, the surety appeared at the

hearing with counsel, Mario Esparza, but provided no information about Defendant’s

whereabouts.

       Defendant’s counsel, the third‐party custodian nor the surety showed cause why
       Case 5:11-cr-02972-RB      Document 285      Filed 05/15/12    Page 3 of 4

the appearance bond should not be forfeited as requested by Plaintiff. The surety,

however, requested thirty days to locate and apprehend Defendant before the bond was

revoked. The third‐party custodian and Defendant’s counsel concurred in this request.

The Plaintiff objected arguing that the conditions of release had already been violated

and revocation of the bond was therefore appropriate.

      The Court agreed to permit the requesting parties thirty days to bring Defendant

before the Court. Doc. 254. However, the parties were advised that if, “after thirty days

from the date of th[at] order, the defendant, Luis Alberto Carrasco, has not been

apprehended or does not appear before this Court,” a Proposed Findings and

Recommended Disposition to grant the United States’ motion will be submitted to the

District Judge for consideration. The thirty days have passed and Defendant has not

been apprehended or otherwise appeared before this Court. Moreover, no party has

requested any further extension of time to locate Defendant or otherwise shown cause

why the bond should not be forfeited.
       Case 5:11-cr-02972-RB      Document 285      Filed 05/15/12    Page 4 of 4

      IT IS THEREFORE RECOMMENDED that Judgment be entered against the

defendant, Luis Alberto Carrasco, the third party custodian, Rosa Maria Arrieta, and

the surety, Angelica Herrera‐Lucero, in the principal amount of $20,000.00 plus interest

at the legal rate compounded annually and computed daily until paid, and all other

costs as allowed by law.


 THE PARTIES ARE FURTHER NOTIFIED THAT WITHIN 14 DAYS OF SERVICE
 of a copy of these Proposed Findings and Recommended Disposition they may file
 written objections with the Clerk of the District Court pursuant to 28 U.S.C. §
 636(b)(1)(c). A party must file any objections with the Clerk of the District Court
 within the fourteen‐day period if that party wants to have appellate review of the
 proposed findings and recommended disposition. If no objections are filed no
 appellate review will be allowed.




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                                               GREGORY B. WORMUTH
                                               United States Magistrate Judge
